                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL          *                  CIVIL ACTION NO 21-80
             Plaintiffs   *
                          *                  SECTION: D-2
   VERSUS                 *
                          *                  JUDGE: VITTER
                          *
JOSEPH P. LOPINTO, ET AL. *                  MAGISTRATE: CURRAULT
               Defendants *
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    SHERIFF LOPINTO’S RESPONSE TO PLAINTIFFS’ “LIST OF
 MATERIAL FACTS” ATTACHED TO THEIR MOTION FOR SUMMARY
   JUDGMENT(R. DOC. 93) AND STATEMENT OF UNCONTESTED
                     MATERIAL FACTS

      Defendant, Sheriff Joseph P. Lopinto, III, in his official capacity as the

Sheriff of Jefferson Parish (“Sheriff Lopinto”), responds to Plaintffs’ “List of

Material Facts” attached to their Motion for Summary Judgment at R. Doc. 93-2 as

follows:

1.    “On January 19, 2020, E.P. died in the custody and care of deputies with the

Jefferson Parish Sheriff’s Office in the parking lot of the Westgate Shopping

Center in Metairie, La.” R. Doc. 93-2.

RESPONSE:

      The Sheriff denies that E.P. was “in the custody” of Deputies at the time he

died. This is a legal conclusion and is otherwise denied.

2.    “On January 20, 2020, JPSO began seeking criminal search warrants
regarding E.P. and his father.” R. Doc. 93-2.

RESPONSE:

      The Sheriff denies this statement as written. Further, this alleged fact is

neither genuine, nor material to any issue before the Court.

3.    “None of the search warrant applications identified a crime.” R. Doc. 93-2.

RESPONSE:

      Denied.

4.    “A 30(b)(6) representative for Sheriff Lopinto in his official capacity

testified that the ‘only crime that could have conceivably been considered at that

point would be one by deputy or deputies against Eric Parsa.’” Id.

RESPONSE:

      Denied. This alleged fact is neither genuine, nor material. Corporate

deposition testimony is not relevant to any issue before the Court.

5.    “A 30(b)(6) representative for Sheriff Lopinto in his official capacity

testified that ‘JPSO didn't have any reason to suspect a crime was committed

against EP at the time of this search warrant application.’” Id.

RESPONSE:

      Denied. This alleged fact is neither genuine, nor material. Corporate

deposition testimony is not relevant to any issue before the Court.

6.    “A 30(b)(6) representative for Sheriff Lopinto in his official capacity
testified that there nothing ‘about the search warrants for EP that is inconsistent

with the way Sheriff Lopinto requires that they be used.’” R. Doc. 93-2.

RESPONSE:

       Denied. This alleged fact is neither genuine, nor material.Corporate

deposition testimony is not relevant to any issue before the Court.

       Sheriff Lopinto submits the following statement of material facts which are

uncontested:

1.     E.P. violently attacked his father and the responding Deputy that was called

to the scene in the parking lot of the Westgate Shopping Center in Metairie, La. on

January 19, 2020. The call for service was made by a horrified onlooker. R. Doc. 1.

2.     The Defendant J.P.S.O. Deputies were called to the scene based upon a

report from a business manager that E.P. was violently out of control and severely

beating his own father, Plaintiff, in the parking lot.

3.     Plaintiff, Mr. Darren Parsa, E.P.’s father and victim, sustained severe

injuries.

4.     The Defendant J.P.S.O. Deputies arrived to find a horrifying scene.

5.     E.P. had severely injured his father. E.P. had bitten his fathers face, leaving

an open wound and other obvious injuries and trauma.

6.     The Defendant J.P.S.O. Deputies did as best they could to manage E.P., who

never stopped resisting their efforts.
7.    Regrettably, E.P. expired on the scene.

8.    Plaintiffs attach seven applications for and search warrants to their Motion.

R. Doc. 93-4.

9.    The first search Warrant (“warrant 1”) is for EMS records for E.P. on

January 19, 2020. Id.; Warrant 1, attached as Exhibit 1.

10.   The second search Warrant (“warrant 2”) is for E.P.’s medical records from

East Jefferson General Hospital on January 19, 2020. Id.; Warrant 2, attached as

Exhibit 2.

11.   The third search warrant (“Warrant 3”) is for E.P.’s medical records from

Ormond Pediatrics in St. Charles Parish. Id.; Warrant 3, attached as Exhibit 3.

12.   The fourth search warrant (“Warrant 4”) is for Mr. Parsa’s medical records

from East Jefferson General Hospital on January 19, 2020. Id.; Warrant 4, attached

as Exhibit 4.

13.   The fifth search warrant (“Warrant 5”) is for records from WWLTV

regarding the subject incident on January 19, 2020. Id.; Warrant 5, attached as

Exhibit 5.

14.   The sixth search warrant (“Warrant 6”) is for E.P.’s school records from

Destrehan High School. Id.; Warrant 6, attached as Exhibit 6.

15.   The seventh Search warrant (“Warrant 7”) is for other records relative to E.P.

from Destrehan High School. Id.; Warrant 7, attached as Exhibit 7.
16.   Warrants 1 (E.P.’s EMS records), 2 (E.P.’s EJGH records), 3 (E.P.’s Pediatric

records) and 6 and 7 (E.P.’s Destrehan High School records) all sought E.P.’s

records, not the Plaintiffs. The Plaintiffs do not have standing to challenge these

warrants.Warrants 1 (E.P.’s EMS records), 2 (E.P.’s EJGH records), 3 (E.P.’s

Pediatric records) and 6 and 7 (E.P.’s Destrehan High School records) all sought

E.P.’s records, not the Plaintiffs.

17.   The Plaintiffs do not have standing to challenge the warrants for E.P.’s

records. Dohaish v. Tooley, 670 F.2d 934, 936 (10th Cir.)("[T]he Sec. 1983 civil

rights action is a personal suit. It does not accrue to a relative, even the father of

the deceased.")(emphasis added) cert. denied, 459 U.S. 826, 103 S.Ct. 60, 74

L.Ed.2d 63 (1982); see also Coon v. Ledbetter, 780 F.2d 1158, 1160-61 (5th

Cir.1986); Trujillo v. Board of County Commissioners, 768 F.2d 1186, 1187 (10th

Cir.1985); Rakas v. Illinois, 439 U.S. 128, 133–34, 99 S.Ct. 421, 58 L.Ed.2d 387

(1978).

17.   The Plaintiffs do not plead a cause of action in their Complaint regarding

Warrant 5 (the WWLTV records). R. Doc. 1.

18.   The Plaintiffs do not have standing to challenge Warrant 5 (the WWLTV

records). Rakas v. Illinois, 439 U.S. 128, 133–34, 99 S.Ct. 421, 58 L.Ed.2d 387

(1978).
19.   The Plaintiffs do not plead a cause of action in their Complaint regarding

Warrant 4 (seeking Mr. Darren Parsa’s medical records from January 19, 2020). R.

Doc. 1.

20.   Warrant 4 (seeking Mr. Darren Parsa’s medical records from January 19,

2020) is a valid warrant supported by probable cause.

                                     Respectfully submitted,

                                     /s/ Daniel Martiny

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